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FLNB Local Form 5

Exhibit Tag/ Cover Sheet

Party submitting: Plaintiff Ex. # 68
Admitted: Yes or No (circle one)

Debtor: Julian Rodney Rooks Jr.

 

Case Ne.: 21-40139-KKS

 

 

 

Ady. No.:

Nature of Hearing/

Docket Ne:

Dated 07/22 ,2021.

 

By: » Deputy Clerk
Case 21-04019-KKS Doc13-7 Filed 07/22/21 Page 2 of 10

 

FINANCE AUTHORITY OF MATHE
C/Q SALLIE MAE, INC.

P.0. BOX 6180
INDIANAPOLIS IN 46206-6180

    

JHORITY OF MAINE

iDEANIFICATION AGREEMENT FOR THE ASSIGNMENT OF FEBERAL

FAMILY EDUCATION LOAN WITH DAMAGED PROMISSORY NOTE OR
PROMISSORY NOTE WITH UNINITIALED ALTERATIONS

Borrower's Current Name: ROGKS JR JUL LAN Rg
Last First Hi

Borrower's Previous Name:

 

(Last, First, Middfe)

Borrower's Correct SSN: Wa - 0775

First Disbursement Bate: 05/28/1999
Last Bisbursement Bate: 05/28/1999
Disbursement Amount: 510,000.00

In assigning Stafford Student Loans/Supplementai Loans fer Students/Parent
(PLUS) Loans/Consolidated Loans to the Secretary of Education (hereinafter “the
Secretary"), the Finance Authority of Maine (hereinafter “Guaranty Agency")
agrees that if any loan assigned to the Secretary by the Guaranty Agency
without an original promissory note or certified true copy in good condition
should become uncol lectable by reason of such damaged promissory note or
because It contains alterations without the borrower's initials, or if the
Secretary, in his sele discretion, determines that the loan cannot be enforced
because of the damaged or altered promissory note, the Secretary is entitled te
recover from the Guaranty Agency the amount of reinsurance attributable to such
loan previously paid to the Guaranty Agency, plus interest from the date the
reinsurance was paid. The Secretary may recover amounts due under this
agreement by withhoiding such amounts from any payments due to the Guaranty
Agency from the Department of Education.

The Guaranty Agency also agrees that the assignment of any loan covered by this
Agreement includes the assignment to the Secretary of any rights held by the
Guaranty Agency under any indemnification agreement or warranty executed by the
lender in favor of the Guaranty Agency (lender indemnification agreement}. in
the event the Secretary recovers from the Guaranty Agency the amount paid in
reinsurance for a loan covered by the agreement, the Secretary will release to
the Guaranty Agency his rights in the applicable lender indemnification
agreement.

 

06/11/2018 a ona e. SN. ~ CLE

DATE Signature of Guaranty Agency Official
Douglas E. St. Peters
Vice President Portfolio Management
As authorized agent for
Finance Authority of Maine

DSUAHME
 

Case 21-04019-KKS Doc13-7 Filed 07/22/21 Page 3 of 10

 

FINANCE AUTHORITY OF MAIKE
C/G SALLIE HAE, INC.

P.O. BOX 6160
INDIANAPOLIS IM 46206-5180

  

THORITY OF MAINE

 

IDEMNIFICATION AGREEMENT FOR THE ASSIGNMENT oF FEDERAL
FAMILY EDUCATION LOAN WITH DAMAGED PROMISSORY NOTE OR

PROMISSORY NOTE WITH UNINITIALED ALTERATIONS

 

Borrower's Current Name: _ROOKS JR JULIAN &
Last First MI

Borrower's Previous Name:

 

(Last, First, Middle}

Borrower's Correct SSN: GR-0775

First Oisbursement Date: 05/28/1999
Last Disbursement Bate: 05/28/1999
Disbursement Amount: $8,500.00

In assigning Stafford Student Loans/Supplemental Loans fer Students/Parent
(PLUS) Loans/Consolidated Loans to the Secretary of Education (hereinafter “the
Secretary"), the Finance Authority of Maine (hereinafter “Guaranty Agency")
agrees that if any lean assigned to the Secretary by the Guaranty Agency
without an original promissory note or certified true copy in goed condition
should become uncollectable by reason of such damaged promissory nete or
because it contains alterations without the borrower's initiais, or if the
Secretary, in his sole diseretion, determines that the loan cannet be enforced
because of the damaged or altered promissory note, the Secretary is entitled te
recover from the Guaranty Agency the amount of reinsurance attributable to such
loan previously paid to the Guaranty Agency, plus interest from the date the
reinsurance was paid. The Secretary may recover amounts due under this
agreement by withholding such amounts from any Payments due to the Guaranty
Agency from the Department of Education.

The Guaranty Agency also agrees that the assignment of any loan covered by this
Agreement includes the assignment to the Secretary of any rights held by the
Guaranty Agency under any indemnification agreement or warranty executed by the
lender in Favor of the Guaranty Agency (lender indemnification agreement). in
the event the Secretary recovers from the Guaranty Agency the amount paid in
reinsurance for a loan covered by the agreement, the Secretary will release to
the Guaranty Agency his rights in the applicable lender indemnification
agreement.

06/11/2014

DATE Signature of Guaranty Agency Official
Bougias —E. St. Peters
Vice President Portfolio Management
As authorized agent for
Finance Authority of Haine

 

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Case 21-04019-KKS Doc13-7 Filed 07/22/21 Page 4 of 10

 

 

FINANCE AUTHORITY OF MAINE
C/O SALLIE MAE, INC.

P.2, BOX 6180
INDIANAPOLIS IN 46206-6180

    

ATHORITY OF MAINE

IDENNIFICATION AGREEMENT FOR THE ASSIGNMENT OF FEDERAL
FAMILY EDUCATION LOAN WITH DAMAGED PROMISSORY NOTE OR

 

 

PROMISSORY NOTE WITH UNINITIALED ALTERATIONS ’
Borrower's Current Name: ROOKS JR JULIAN R
Last First Hl

Borrower's Previous Name:

 

(Last, First, Middle)

Borrower's Correet SSH: p-0775

First Disbursement Gate: 02/19/1999
Last Disbursement Bate: 02/19/1999
Disbursement Amount: 52,166.00

in assigning Stafford Student Loans/Supplemental Loans for Students/Parent
(PLUS) Loans/Consolidated Loans te the Secretary of Education (hereinafter “the
Secretary"), the Finance Authority of Maine (hereinafter “Guaranty Agency")
agrees that if any loan assigned te the Secretary by the Guaranty Agency
without an original promissory note or certified true copy in good condition
Should become uncellectable by reason of such damaged promissory note or
because it contains alterations without the borrower's initials, or if the
Secretary, in his sole discretion, determines that the loan cannot be enforced
because of the damaged or aitered promissory note, the Secretary is entitled to
recover from the Guaranty Agency the amount of reinsurance attributable to such
loan previously paid to the Guaranty Agency, plus interest from the date the
reinsurance was paid. The Secretary may recover amounts due under this
agreement by withhotding such amounts from any payments due to the Guaranty
Agency from the Department of Education.

The Guaranty Agency also agrees that the assignment of any loan covered by this
Agreement includes the assignment to the Secretary of any rights held by the
Guaranty Agency under any indemnification agreement or warranty executed by the
lender in favor of the Guaranty Agency (lender indemnification agreement). In
the event the Secretary recovers from the Guaranty Agency the amount paid in
reinsurance for a loan covered by the agreement, the Secretary will release to
the Guaranty Agency his rights in the applicable lender indemnification
agreement.

06/11/2018 SS Desghee c. So Va. CLAY

BATE Signature of Guaranty Agency Official
Douglas £. St. Peters
Vice President Portfolio Management
As authorized agent for
Finance Authority of Maine

 

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Case 21-04019-KKS Doc13-7 Filed 07/22/21 Page 5 of 10

 

FINANCE AUTHORITY OF MAINE
C/O SALLIE MAE, INe,

°.0. BOX 6180
TNOIANAPOLIS IN 46206-6180

    

THOAITY OF MAINE

IDEMNIFICATION AGREEMENT FOR THE ASSIGNMENT OF FEDERAL
FAMILY EDUCATION LOAN WITH DAMAGED PROMISSORY NOTE OR
PROMISSORY NOTE WITH UNINITIALED ALTERATIONS

 

Borrower's Current Name: ROOKS JR JULI AN R
Last First Hi

Borrower's Previous Name:

 

(Last, First, Middle)

Borrower's Correct SSN: G-0775

First Disbursement Date: 02/19/1999
Last Disbursement Bate: 02/19/1999
Disbursement Amount: $7,139.00

In assigning Stafford Student Loans/Supplemental Loans for Students/Parent
{PLUS) Loans/Consolidated Loans to the Secretary of Education (hereinafter "the
Secretary"), the Finance Authority of Maine (hereinafter "Guaranty Agency}
agrees that if any loan assigned to the Secretary by the Guaranty Agency
without an original promissory note or certified true copy in good condition
should become uncollectable by reason of such damaged promissory note or
because it contains alterations without the borrower's initiais, or if the
Secretary, in his sole discretion, determines that the loan cannot be enforced
because of the damaged or altered promissory note, the Secretary is entitled to
recover from the Guaranty Agency the amount of reinsurance attributable to such
loan previously paid to the Guaranty Agency, plus interest from the date the
reinsurance was paid. The Secretary may recover amounts due under this
agreement by withholding such amounts from any Payments due to the Guaranty
Agency from the Department of Education.

The Guaranty Agency alse agrees that the assignment of any loan covered by this
Agreement includes the assignment to the Secretary of any rights held by the
Guaranty Agency under any indemnification agreement or warranty executed by the
lender in favor of the Guaranty Agency (lender indemnification agreement). In
the event the Secretary recovers from the Guaranty Agency the amount paid in
reinsurance for a loan covered by the agreement, the Secretary will release to
the Guaranty Agency his rights in the applicable tender indemnification
agreement.

96/11/2014 Donde e- So Num, Ch

DATE Signature of Guaranty Agency Official
Dougias €. St. Peters
Vice President Portfolio Management
As authorized agent for
Finance Authority of Maine

 

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USA FUNDS, INC.
2 C/O SALLIE MAE. INC.

~— . HOEABAPOLIS IN 46206-6168
uSAFunds

IDEMNIFICATION AGREEMENT FOR THE ASSIGNMENT OF FEDERAL
FAMILY EDUCATION LOAN WITH BAMAGED PROMISSORY NOTE OR
PROMISSORY NOTE WITH UNINITEALED ALTERATIONS

Sorrower's Current Name: ROOKS JR JULIAN R
Last First Al

Borrower's Previous Name:

 

{Last, First, Middie)

Borrower's Correct SSN: Wa 0775

 

 

First Bisbursement Date: 10/35/1997
Last Disbursement Date: 10/15/1997
Disbursement Amount: $8,500.60

 

Im assigning Stafford Student Loans/Supplemental Loans for Students/Parent
(PLUS) Loans/Consolidated Loans to the Secretary of Education {hereinafter “the
Secretary"), United Student Aid Funds, Inc. thereinafter "Guaranty Agency")
agrees that if any loan assigned to the Secretary by the Guaranty Agency
without an original promissory note or certified true copy in good condition
should become uncollectable by reason of such damaged promissory note or
because it contains alterations without the borrower's initials, or if the
Secretary, in his sole discretion, determines that the loan cannot be enforced
because of the damaged or altered promissory note, the Secretary is entitled to
recover from the Guaranty Agency the amount of reinsurance attributable to such
loan previously paid to the Guaranty Agency, plus interest from the date the
reinsurance was paid. The Secretary may recover amounts due under this
agreement by withholding such amounts from any payments due to the Guaranty
Agency from the Department of Education.

The Guaranty Agency also agrees that the assignment of any loan covered by this
Agreement includes the assignment to the Secretary of any rights held by the
Guaranty Agency under any indemnification agreement or warranty executed by the
lender in favor of the Guaranty Agency (lender indemnification agreement). in
the event the Secretary recovers from the Guaranty Agency the amount paid in
reinsurance for a loan covered by the agreement, the Secretary will release to
the Guaranty Agency his rights in the applicable lender indemnification

agreement.
Daufe € SNaa
06/11/2014
BATE Signature of Guaranty Agency Official
Douglas E. St. Peters
Vice President Portfolio Management

As authorized agent for
United Student Aid Funds, ine.

 

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USA FUNDS, INC.
C/G SALLIE MAE, INC.
. P.0. BOX 6108
INDIANAPOLIS I8 46206-6108

saFunds

{DEANIFICATION AGREEMENT FOR THE ASSIGNMENT GF FEDERAL
FAMILY EDUCATION LOAN WITH DAMAGED PROHISSORY NOTE OR
PROHISSGRY NOTE WITH UNINITIALED ALTERATIONS

 

Borrower's Current Name: _ROOKS JR JULTAN R
Last First Al

Borrower's Previous Name:

 

(Last, First, Middle)

Borrower's Correct SSN: Ga 0775

First Disbursement fate: 10/15/1997
Last Disbursement Date: 20/15/1997
Disbursement Amount: $8,600.00

in assigning Stafford Student Loans/Suppiemental Loans for Students/Parent
(PLUS) Loans/Consolidated Loans to the Secretary of Education {hereinafter "the
Secretary"), United Student Aid Funds, inc. (hereinafter “Guaranty Agency")
agrees that if any loan assigned to the Secretary by the Guaranty Agency
without an original promissory note or certified true copy in good condition
should become uncollectable by reason of such damaged promissory note or
because it contains alterations without the borrower's initials, or if the
Secretary, in his sole discretion, determines that the Ioan cannot be enforced
because of the damaged or altered promissory note, the Secretary is entitled to
recover from the Guaranty Agency the amount of reinsurance attributable to such
loan previously paid to the Guaranty Agency, plus interest from the date the
reinsurance was paid. The Secretary may recover amounts due under this
agreement by withholding such amounts from any payments due to the Guaranty
Agency from the Department of Education.

The Guaranty Agency also agrees that the assignment of any loan covered by this
Agreement includes the assignment to the Secretary of any rights held by the
Guaranty Agency under any indemnification agreement or warranty executed by the
fender in Favor of the Guaranty Agency (lender indemnification agreement}. In
the event the Secretary recovers from the Guaranty Agency the amount paid in
reinsurance for a loan covered by the agreement, the Secretary will release to
the Guaranty Agency his rights in the applicable fender indemnification

agreement.
Doufe € SNe. IV
06/11/2018
DATE Signature of Guaranty Agency Official
Douglas E. St. Peters
Vice President Portfolio Management
As authorized agent for
United Student Aid Funds, inc.
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Case 21-04019-KKS Doc13-7 Filed 07/22/21 Page 8 of 10

 

 

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USA FUNDS, INC.
<& C/O SALLIE MAE, INC.

P.0. BOX 6198
. . INDIANAPOLIS IN 46206-6108
USAFunds

IGEMNIFICATION AGREEMENT FOR THE ASSIGNMENT OF FEDERAL
FAMILY EDUCATION LOAN WITH SAMAGED PROMISSORY NOTE OR
PROMISSORY NOTE WITH UNINITIALED ALTERATIONS

Borrower's Current Name: _ROOKS JR JUL LAN R
Last First MI

Borrower's Previous Name:

 

(Last, First, Middle)

Borrower's Correct SSN: QaP-0775

First Disbursement Date: 08/11/1994
Last Disbursement Date: 08/17/1994
Disbursement Amount: $19,000.00

in assigning Stafford Student Loans/Supplemental Loans for Students/Parent
(PLUS) Loans/Consotidated Loans to the Secretary of Education (hereinafter “the
Secretary"), United Student Aid Funds, inc. (hereinafter “Guaranty Agency”)
agrees that if any loan assigned to the Secretary by the Guaranty Agency
without an original promissory note or certified true copy in good condition
Should become uncoltectable by reason of such damaged promissory note or
because it contains alterations without the borrower's initials, or if the
Secretary, in his sole discretion, determines that the foan cannot be enforced
because of the damaged or altered promissory note, the Secretary is entitled to
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loan previously paid to the Guaranty Agency, pilus interest from the date the
reinsurance was paid. The Secretary may recover amounts due under this
agreement by withholding such amounts from any payments due to the Guaranty
Agency from the Department of Education.

The Guaranty Agency also agrees that the assignment of any loan covered by this
Agreement includes the assignment to the Secretary of any rights heid by the
Guaranty Agency under any indemnification agreement or warranty executed by the
lender in favor of the Guaranty Agency {lender indemnification agreement}. tin
the event the Secretary recovers from the Guaranty Agency the amount paid in
reinsurance for a loan covered by the agreement, the Secretary will release te
the Guaranty Agency his rights in the applicable lender indemnification

agreement .
SDaude sum.
06/11/2014
DATE Signature of Guaranty Agency Official
Douglas £. St. Peters
Vice President Portfolio Management

As authorized agent for
United Student Aid Funds, inc.

 

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Case 21-04019-KKS Doc13-7 Filed 07/22/21 Page 9 of 10

 

 

USA FUNDS, INC.

C/O SALLIE MAE, INC.

7.0, 80X 6108
INDIANAPOLIS IN 46206-6198

UsaFunds

iIDEMNIFICATION AGREEMENT FOR THE ASSIGNMENT OF FEDERAL
FAMILY EDUCATION LOAN WITH GAMAGED PROMISSORY NOTE OR
PROMISSORY NOTE WITH UNINITIALED ALTERATIONS

Borrower's Current Name: ROOKS JR JULIAN R
Last First ME

Borrower's Previous Name:

 

(Last, First, Middle}

Borrower's Correct SSN: Wa 0775

First Disbursement Bate: 08/18/1993
Last Bisbursement Date: 08/18/1993
Disbursement Amount: $10,000.00

in assigning Stafford Student Loans/Supplementa! Loans for Students/Parent
(PLUS) Loans/Consolidated Loans to the Secretary of Education {hereinafter "the
Secretary"), United Student Aid Funds, Inc. (hereinafter “Guaranty Agency")
agrees that if any loan assigned to the Secretary by the Guaranty Agency
without an original Promissory note or certified true copy in good condition
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Secretary, in his sole discretion, determines that the loan cannot be enforced
because of the damaged or altered promissory note, the Secretary is entitled to
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agreement by withholding such amounts from any payments due to the Guaranty

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Agreement ineludes the assignment to the Secretary of any rights heid by the
Guaranty Agency under any indemnification agreement or Warranty executed by the
lender in favor ef the Guaranty Agency {lender indemnification agreement). In
the event the Secretary recovers from the Guaranty Agency the amount paid in
reinsurance for a loan covered by the agreement, the Secretary will release to
the Guaranty Agency his rights in the applicable lender indemnification

agreement.
SDoudee ES Vue
06/11/2014
BATE Signature of Guaranty Agency Official
Douglas £. St. Peters
Vice President Portfolio Management
As authorized agent for
United Student Aid Funds, Enc.
GSUAUS

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USA FUHOS, INC.

C/O SALLIE MAE, INC.

P.G. BOX 6168
INDIANAPOLIS IN 46206-6108

UsaFunds

IDEANI FICATION AGREEMENT FOR THE ASSIGNMENT OF FEDERAL

FAMILY EDUCATION LOAN WITH DAMAGED PROMISSORY NOTE OR
PROMISSORY NOTE WITH UNINITIALED ALTERATIONS

Borrower's Current Name: RGOKS JR JULLAN R
Last First Al

Borrower's Previous Name:

 

(Last, First, Middle}

Borrower's Correct SSN: we-0 775

First Disbursement Date: 08/17/1993
Last Disbursement Date: 08/17/1993
Disbursement Amount: $7,500.90

In assigning Stafford Student Loans/Supplemental Loans for Students/Parent
(PLUS) Loans/Consolidated Loans to the Secretary of Education (hereinafter "the
Secretary"), United Student Aid Funds, inc. (hereinafter "Guaranty Agency}
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because of the damaged or altered promissory note, the Secretary is entitled to
recover from the Guaranty Agency the amount of reinsurance attributable to such
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agreement by withholding such amounts from any payments due to the Guaranty
Agency from the Department of Education.

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Guaranty Agency under any indemnification agreement or warranty executed by the
lender in favor of the Guaranty Agency (lender indemnification agreement}. in
the event the Secretary recovers from the Guaranty Agency the amount paid in
reinsurance for a loan covered by the agreement, the Secretary will release to
the Guaranty Agency his rights in the applicable lender indemnification

agreement.
Deuter € Num, Yr
06/11/2014
BATE Signature of Guaranty Agency Official
Bouglas —E. St. Peters
Vice President Portfolio Management

As authorized agent for
United Student Aid Funds, Ine.

 

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